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                                                                           May 10, 2023
  VIA ECF

  The Honorable Ann M. Donnelly
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:      Henkin, et al. v. Qatar Charity, et al., 21-cv-05716—Defendant Qatar Charity’s
           Letter Advising Court of Recent Factual Developments Undermining Jurisdiction

  Dear Judge Donnelly:
          Defendant Qatar Charity submits this letter to advise the Court of recent factual
  developments which indisputably foreclose the sole theory of agency-based personal jurisdiction
  cited in Your Honor’s Decision dated March 31, 2023 (ECF No. 81) (the “March 31 Decision”),
  which denied Defendant Qatar Charity’s motion to dismiss the Complaint (ECF No. 58) and
  granted Plaintiffs limited jurisdictional discovery.
         In conjunction with submission of this letter, Defendants Qatar Charity and Masraf al
  Rayan have submitted a request for adjournment of all upcoming discovery deadlines before
  Magistrate Judge Scanlon.1
      I.   The Court’s March 31 Decision
          As Your Honor will recall, the March 31 Decision denied Qatar Charity’s motion to
  dismiss because Plaintiffs “ha[d] pleaded facts which could support a colorable claim that
  Masraf al Rayan was acting as Qatar Charity’s agent” and granted discovery “limited to
  document requests and interrogatories sufficient to show whether Masraf al Rayan was acting as
  Qatar Charity’s agent.” (March 31 Decision at 29). Such discovery was to be “reasonably
  tailored to th[e] jurisdictional issue” of “the frequency with which Masraf al Rayan used . . . the
  Bank of New York Mellon account, and whether that use was deliberate, during the time period
  relevant to the terrorist attacks.” (March 31 Decision at 29). Particularly with respect to Qatar
  Charity, the Court stated that Plaintiffs’ allegations suggested that “Qatar Charity may have had
  direct knowledge that Masraf al Rayan was using the Bank of New York Mellon account.”
  (March 31 Decision at 27 (emphasis added)). As set forth below, the revelation that Masraf al
  Rayan does not maintain a correspondent account, or any account, with the Bank of New York

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   Further to the arguments set forth in this letter, Qatar Charity adopts those articulated in the letter submitted today
  by Masraf al Rayan on these same issues.
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  Mellon (“BNY Mellon”) negates any need for such jurisdictional discovery and necessitates the
  dismissal of Plaintiffs’ claims.
          Plaintiffs’ theory of jurisdiction fundamentally relies on their allegation that Qatar
  Charity initiated USD-denominated fund transfers from its bank accounts at Masraf al Rayan that
  passed through correspondent accounts at BNY Mellon in the United States. (See Transcript of
  March 16 Hearing at 8:8 – 9:12 (“The way the transaction occurs is . . . whatever currency is sent
  to Bank of New York [Mellon], here, in New York – dollars are sent to Bank of New York
  [Mellon], here, in New York”)). The information recently provided by BNY Mellon makes clear
  that this based on a fundamentally incorrect set of alleged facts.
   II.   Recent Developments Foreclose Any Cognizable Theory of Personal Jurisdiction
         Over Defendants Qatar Charity and Masraf al Rayan
           On April 21, 2023, Plaintiffs improperly served a third-party subpoena on BNY Mellon
  seeking the production of documents responsive to five specific requests, including “[c]opies of
  all agreements between You and Masraf al Rayan, and all account opening documents,
  regardless of the date on which those agreements and documents were created.” On May 9,
  2023, BNY Mellon responded to that subpoena, stating with respect to that request that “Masraf
  al Rayan itself has never had an account at BNY Mellon.” In their responses, BNY Mellon also
  makes clear that there were no USD-denominated transactions made by Masraf al Rayan through
  a BNY Mellon correspondent account on behalf of Qatar Charity during the relevant period and
  that “it has never had a relationship of any kind with Qatar Charity and had no communication of
  which it is aware during the [relevant] period.” This information is fatal to Plaintiffs’ claims.
          In the March 31 Decision, this Court declined to dismiss Plaintiffs’ claims as to Qatar
  Charity on the basis of personal jurisdiction, stating that it could not “at this point determine
  whether an agency relationship existed between Masraf al Rayan and Qatar Charity sufficient to
  confer jurisdiction over Qatar Charity based on Masraf al Rayan’s use of its correspondent bank
  account.” (March 31 Decision at 20). The non-existence of the purported correspondent account
  at BNY Mellon destroys Plaintiffs’ theory of the case and any colorable argument for personal
  jurisdiction over Qatar Charity. Simply stated, Qatar Charity has no contacts with the forum that
  can ground personal jurisdiction.
  III.   Such Recent Developments Further Divest This Court of Subject Matter Jurisdiction
         Unlike personal jurisdiction, a challenge to subject matter jurisdiction may be raised and
  considered by the Court at any time, and if it is found lacking the Court must dismiss the action.
  Fed. R. Civ. P. 12(h)(3); see also Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 583 (1999)
  (“subject-matter delineations must be policed by the courts on their own initiative even at the
  highest level”). As the Court is aware, Plaintiffs’ claims arise from the Anti-Terrorism Act
  (“ATA”), as amended by the Justice Against Sponsors of Terrorism Act (“JASTA”). The ATA
  provides that:
                 Any national of the United States injured in his or her person,
                 property or business by reason of an act of international terrorism,
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                    or his or her estate, survivors, or heirs may sue therefore in any
                    appropriate district court of the United States and shall recover
                    threefold the damages he or she sustains and the cost of the suit,
                    including attorney’s fees.
  28 U.S.C. § 2333. Plaintiffs have not alleged any action by Qatar Charity that might support an
  ATA claim, other than the purported agency relationship with Masraf al Rayan as it relates to
  any transfers made through the non-existent BNY Mellon correspondent account. Now that such
  theory is refuted, the Court has no basis to assert jurisdiction over foreign defendants—nor does
  it have the power to bind Qatar Charity, which expressly contests whether it is subject to
  jurisdiction sufficient to require its participation in any discovery, however limited. The Court
  must satisfy itself of its jurisdiction. The sole basis for such jurisdiction is now refuted, requiring
  dismissal.
  IV.      Discovery Abuses Already Occurring
          The Court need not look far to observe how Plaintiffs have seized upon Your Honor’s
  March 31 Decision to engage in the type of discovery that Judge Garaufis aptly characterized as
  a “fishing expedition.” Przewozman v. Qatar Charity, et al., 2023 WL 2562537, at *18
  (E.D.N.Y. Mar. 17, 2023).2 Plaintiffs’ unscrupulous tactics manifested themselves within 14
  days of Your Honor’s Decision. Far from honoring the limited jurisdictional discovery that Your
  Honor contemplated per the express language of the March 31 decision, Plaintiffs’ have sought
  discovery far exceeding the ordered scope, including via a third-party subpoena directed to BNY
  Mellon. A copy of the Plaintiffs’ first set of discovery requests to Qatar Charity are attached as
  Exhibit A.
        The March 31 Decision is clear as to the “limited” nature (March 31 Decision at 26) of the
  jurisdictional discovery it authorizes. As this Court made explicit, “[d]iscovery will be limited to
  document requests and interrogatories that could show the frequency with which Masraf al
  Rayan used . . . the Bank of New York Mellon account, and whether that use was deliberate,
  during the time period relevant to the terrorist attacks, and that the plaintiffs’ claims arose from
  Masraf al Rayan contacts with New York.” Under the plain directive of the March 31 Decision,
  any appropriate request must be limited to inquiries focused on (a) Masraf al Rayan’s use of the
  purported BNY Mellon account (and no other putative account), (b) in New York (and nowhere
  else), (c) during the “time period relevant to the terrorist attacks.” (March 31 Decision at 29).
          In addition to these defined restrictions as to the scope of the limited discovery
  authorized, as to Qatar Charity specifically Your Honor expressly ordered that “discovery will be
  limited to document requests and interrogatories sufficient to show whether Masraf al Rayan was
  acting as Qatar Charity’s agent.” (March 31 Decision at 29). The March 31 Decision then
  emphasizes that “[d]iscovery must be reasonably tailored to this jurisdictional issue.” (March 31
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    The March 31 Decision distinguished the facts at bar from those alleged in Przewozman, noting “[t]here is one
  significant factual difference between this case and Przewozman: the terrorist attack in Przewozman occurred in
  2019, more than four years after the last Bank of New York Mellon transaction alleged in the complaint, . . . while
  the first attack in this case took place in 2015, and the second in 2018.” (March 31 Decision at 8). Once again, the
  non-existence of the BNY Mellon correspondent account moots the reasoning of the Decision.
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  Decision at 29). As the Complaint makes explicit, and as the Decision also recognized,
  Plaintiffs’ theory is that Masraf al Rayan utilized a BNY Mellon account in New York to transfer
  U.S. Dollars to the Palestinian Territories. (See, e.g., Complaint ¶ 130; March 31 Decision at
  14). Thus, any compliant request of Qatar Charity must, per the plain terms of the Order, be
  limited to requests relating to whether Masraf al Rayan was acting as Qatar Charity’s agent in
  using a BNY Mellon account in New York to transfer U.S. Dollars to the Palestinian Territories
  during the “time period relevant to the terrorist attacks.” Plaintiffs’ Requests go far afield from
  these limitations, are not authorized by the Decision, and are, indeed, contrary to its explicit
  terms. Furthermore, now that BNY Mellon has confirmed that there is no such correspondent
  account, this should mark the end of the limited jurisdictional discovery.

                                       *       *      *        *

        For the foregoing reasons, as well as those set forth in Qatar Charity’s moving papers
  (ECF Nos. 58 & 68) and supplemental letter briefing (ECF No. 78), the Court should dismiss the
  Complaint with prejudice as against Qatar Charity.
                                                          Respectfully submitted,

                                                          /s/ John M. Hillebrecht
                                                          John M. Hillebrecht

                                                          Counsel for Qatar Charity

  Encl.

  cc:     All counsel of record (by ECF)
